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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


 NANCY RINEHART, individually and on             CASE NO. 3:16-CV-05128-MAS-
 behalf of all others similarly situated,        LHG

              Plaintiff,

 v.

 AS AMERICA, INC. d/b/a American
 Standard, a Delaware corporation and
 SAFETY TUBS COMPANY, LLC, a
 Delaware limited liability company,

               Defendants.


            MOTION FOR REASONABLE ATTORNEYS’ FEES

      Plaintiff Nancy Rinehart (“Plaintiff” or “Rinehart”), by and through her

undersigned counsel and having reached a class action settlement agreement with

Defendants, AS America, Inc. d/b/a American Standard and Safety Tubs

Company, LLC (“Defendants”), respectfully move this Court for an order granting

Settlement Class Counsel attorneys’ fees and expenses in an amount equal to 29%

of the Settlement Fund and for an order awarding Plaintiff an Incentive Award in

the amount of $5,000.

      In support, Plaintiff submits the accompanying Memorandum in Support and

the declaration of Patrick H. Peluso.

      For the reasons set forth in the accompanying memorandum, Plaintiff
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respectfully requests the Court grant the requested attorneys’ fees and incentive

award.



Dated: June 14, 2018                   Respectfully submitted,

                                       Nancy Rinehart, individually and on behalf
                                       of all others similarly situated,

                                       By: s/Patrick H. Peluso
                                       One of Plaintiff’s Attorneys

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                          CERTIFICATE OF SERVICE

      The undersigned certifies that, on June 14, 2018, I caused this document to

be electronically filed with the Clerk of the Court using the CM/ECF system,

which will send a notification of filing to all counsel of record for each party.

                                        s/ Stefan Coleman
